          Case 1:17-cv-01117-RP Document 137 Filed 08/24/22 Page 1 of 2



                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

GOOD RIVER FARM, LP,                                §
                                                    §
                Plaintiff,                          §
                                                    §
v.                                                  §                     1:17-CV-1117-RP
                                                    §
MARTIN MARIETTA MATERIALS, INC.,                    §
and TXI OPERATIONS, LP,                             §
                                                    §
                Defendants.                         §

                                                ORDER

        After a three-day jury trial, the jury in this case returned a verdict in favor of Plaintiff Good

River Farm, LP (“Good River”), on August 24, 2022. (Verdict, Dkt. 135). The jury determined that

Defendants Martin Marietta Materials, Inc., and TXI Operations, LP, (together, “Defendants”),

diverted or impounded the natural flow of surface waters in a manner that proximately caused

damage to Good River’s property and that Defendants’ negligence proximately caused the injury to

Good River’s property on or around October 30, 2015. (Id.). The jury did not find that Defendants

intentionally or negligently created a private nuisance.

        Based on its affirmative answers, the jury awarded Good River $659,882.00 in damages.

        Finding nothing left to resolve, the Court renders this final judgment pursuant to Federal

Rule of Civil Procedure 58.

        IT IS ORDERED that judgment is entered in favor of Good River.

        IT IS FURTHER ORDERED that Good River is AWARDED $659,882.00 in damages.

        IT IS FURTHER ORDERED that Good River shall file any motion for reasonable

attorneys’ fees and a bill of costs, with supporting documentation, no later than September 8, 2022,

pursuant to Local Rules CV-7(j)(1) and CV-54(a).



                                                    1
       Case 1:17-cv-01117-RP Document 137 Filed 08/24/22 Page 2 of 2



     IT IS FURTHER ORDERED that any relief requested by any party not expressly granted

is DENIED.

     IT IS FINALLY ORDERED that this action is CLOSED.

     SIGNED on August 24, 2022.

                                      _____________________________________
                                      ROBERT PITMAN
                                      UNITED STATES DISTRICT JUDGE




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